                  COURT MINUTES OF SENTENCING HEARING


UNITED STATES of AMERICA,

v.                                                                    CASE NO. 22-CR-45-JPS

YUE LIU.



                           HON. J. P. STADTMUELLER PRESIDING
DATE: February 13, 2025                                 TIME SCHEDULED: 8:30 a.m.

COURT DEPUTY/CLERK: Caitlin Willenbrink                 TIME CALLED: 8:34 a.m.

COURT REPORTER: Sue Armbruster                          TIME FINISHED: 1:06 p.m.

GOVERNMENT BY: John Scully

DEFENDANT in person, AND BY: Peter Zeidenberg, Laura Zell

PROBATION BY: Maria Mahmoudi

Notes:

8:34     Appearances; Court states that the purpose of today is to address pending matters and arrive at
         a formal sentence, and notes schedule for the day; Court asks whether parties have come to any
         agreements as to loss, victims, restitution, forfeiture, acceptance of responsibility, and other
         matters or if the disputes noted in presentence report (PSR) and addenda remain; attorneys
         confirm that these disputes remain; Court comments further
8:39     Court puts background of case on record, including Defendant’s having pled guilty to Counts
         One and Two of the Information
8:40     Court asks Defendant whether he has reviewed the PSR and addenda; Defendant confirms he
         has
8:41     Court asks Defendant’s attorneys whether they have reviewed the PSR and addenda whether
         they or their client have any objections to the facts as stated therein; Defendant’s attorney
         Zeidenberg confirms there are no objections to the facts as stated in the PSR and addenda
8:42     Court asks Government’s attorney whether he has reviewed the PSR and addenda and whether
         he has any objections to the facts as stated therein; Government’s attorney confirms he has done
         so and has no objections to the facts as stated in the PSR and addenda


                                                Page 1 of 5
8:42  Hearing no objections to the facts as stated in the PSR and addenda, Court adopts the facts as
      stated therein
8:43 Court notes applicable Guidelines as submitted by Probation based on the facts in the PSR:
              Total Offense Level: 26
              Criminal History Category: I
              63 to 78 months imprisonment
              1 to 3 years supervised release
              $25,000.00 to $250,000.00 fine
              $305,749.03 restitution, see PSR ¶ 237
              $100.00 special assessment as to each Count, total $200.00
8:45 Defendant’s attorney Zeidenberg states that he understands the Guidelines construct as
      submitted by Probation but has objections thereto; Court invites Attorney Zeidenberg to begin
      addressing objections
8:48 Attorney Zeidenberg discusses Defendant’s objections to the PSR, primarily whether Defendant
      made misrepresentations to the graduate students; whether the visiting scholars who remitted
      payments to Defendant can be considered part of the fraud scheme and whether Defendant
      made any misrepresentations to them; and, categorically, whether either group should be
      considered when calculating the loss amount
8:59 Attorney Zeidenberg discusses ECF No. 26-4, Defendant’s text messages with visiting scholars
      and references these individuals’ subsequent letters of support for Defendant; argues that the
      visiting scholars should not be considered in arriving at the total loss amounts because no
      misrepresentation was made to the visiting scholars
9:11 Attorney Zeidenberg discusses fraud scheme and loss amount with respect to graduate
      students; discusses ECF No. 26-7, Defendant’s text messages with graduate students, and
      references these individuals’ subsequent letters of support for Defendant
9:39 Attorney Zeidenberg discusses what credits should be applied against loss amount, intended
      loss amount, and whether UWM’s alleged losses can be considered among loss amount
9:49 Attorney Zeidenberg argues that (1) there are no victims because nobody lost money and (2)
      that the PSR double-counts some victims by including both students and their family members,
      if a family member made a payment to Defendant on behalf of a student
9:50 Attorney Zeidenberg argues that there is no basis to order restitution to students
9:52 Government responds to Attorney Zeidenberg’s arguments, first arguing that Defendant’s
      arguments are in some respects inconsistent with his guilty plea
9:53 Court comments; Government responds; Court comments further
9:57 Government notes that Defendant did not produce responsive records early in the case; Court
      responds
9:57 Government comments further and responds to Attorney Zeidenberg’s remarks regarding loss
10:07 Government responds to Attorney Zeidenberg’s remarks regarding visiting scholars
10:10 Government responds to Attorney Zeidenberg’s remarks regarding credits against loss; Court
      asks whether any case law supports this position, and instructs Government to submit that


                                            Page 2 of 5
        authority by the end of the day; Government references ECF No. 25 at 14 and argues that
        Defendant’s payments to UWM should not be credited against loss
10:14   Government notes its position with respect to UWM; Court notes that Government’s position
        relies on the assumption that students would have gone to UWM absent involvement in
        Defendant’s scheme; Government responds, noting that another student who talked to
        Defendant but ultimately did not attend UWM went to another university where he did not pay
        any tuition; Court comments further
10:17   Government has nothing further to address at this time
10:18   Attorney Zeidenberg responds to Government’s remarks
10:21   Attorney Zeidenberg argues that Defendant is entitled to acceptance of responsibility credit
10:23   Attorney Zeidenberg argues that, even if Guidelines as-calculated are applied, Defendant
        should be granted a downward variance
10:27   Government states, with respect to acceptance of responsibility credit, that it maintains its
        position in the plea agreement
10:27   Court stands in recess for 15 minutes

***

10:44 Court reconvenes
10:44 Attorney Zeidenberg comments further of acceptance of responsibility
10:46 Attorney Zeidenberg reiterates position that Guidelines as calculated by Probation incorrectly
      account for loss, number of victims, and acceptance of responsibility
10:48 Court turns to discussing PSR; parties agree on base offense level of 7
10:50 Attorney Zeidenberg comments on why Defendant does not join in 14-level increase for loss
      amount, which Probation recommended in PSR ¶ 166
10:52 Court comments; Attorney Zeidenberg responds
10:53 Court turns to PSR ¶ 167, outlining Probation’s recommendation as to number of victims;
      Attorney Zeidenberg states Defendant’s position that, similarly to his position that there was no
      loss, there were no victims here because no one suffered a pecuniary loss
10:54 Attorney Zeidenberg states that Defendant does not dispute that the enhancements discussed
      in PSR ¶¶ 168, 169, and 175 apply
10:56 Court asks Probation for offense level calculation; Probation responds
10:57 Attorney Zeidenberg, Government, and Probation provide further comments
11:02 Probation states that if offense level is 8, the Guidelines range of imprisonment is 0–6 months
11:03 Government states that it believes these computations, assuming Defendant’s positions as to
      loss, victims, and acceptance of responsibility, are correct
11:03 Attorney Zeidenberg has nothing further on the PSR
11:03 Court asks Attorney Zeidenberg to address Probation’s calculation on restitution; Attorney
      Zeidenberg responds that, if there is no loss, restitution should not be ordered to students or
      UWM


                                              Page 3 of 5
11:05 Government maintains that, because there was a loss to students and to UWM, restitution
      should be ordered, but concedes that if the Court determines that there was no loss, restitution
      should not be ordered
11:06 Government also points out that Dean Brett Peters of UWM is present; calls Dean Peters to
      provide comments
11:07 Dean Peters is sworn
11:07 Dean Peters provides comments
11:10 Attorney Zeidenberg questions Dean Peters
11:23 Attorney Zeidenberg ends questions
11:23 Government questions Dean Peters
11:24 Court asks whether Government’s questioning about Mobile Trans grant is relevant to case;
      Government responds
11:26 Attorney Zeidenberg has nothing further
11:26 Dean Brett Peters is excused
11:27 Parties have nothing further to address on the Guidelines
11:27 Court stands in recess until 12:30 p.m. at which time it will determine the applicable Guidelines

***

12:31 Court reconvenes
12:31 Parties have no further witnesses or argument at this time
12:32 Court solicits attorneys’ comments with respect to Probation’s recommendation as to restitution,
      PSR ¶ 237
12:33 Attorney Zeidenberg states that the individual victims listed have not identified themselves as
      victims nor did they say that they suffered any pecuniary loss, therefore restitution is not
      appropriate
12:35 Government responds; notes that victim X.L. submitted a victim impact statement, claiming a
      loss, and notes that other listed victims are visiting scholars
12:36 Probation comments that some students did not respond to outreach from Probation; explains
      recommended restitution amount for victim X.L. and why visiting scholars were included
12:38 Attorney Zeidenberg responds to Probation’s comments; argues that alleged victims’ non-
      responsiveness to outreach from Probation does not justify ordering restitution
12:39 Government comments further on victim X.L.
12:40 Court comments; states that, if victims don’t cooperate, restitution will not be ordered
12:41 Court finds that, with respect to UWM restitution; will deny that request
12:43 Court comments further
12:44 Parties have nothing further on the matter of restitution
12:45 Court finds that, because the students at issue here received a financial benefit and were
      informed about and accepted Defendant’s arrangement, no student is entitled to recover
      restitution


                                              Page 4 of 5
12:47 Court finds that new Guidelines are as follows:
             Total Offense Level: 8
             Criminal History Category: I
             0 to 6 months imprisonment
             1 to 3 years supervised release
             $1,000.00 to $9,500.00 fine
             $100.00 special assessment as to each Count, total $200.00
12:49 Parties have no objections to these Guidelines
12:51 Attorney Zeidenberg comments on Defendant’s financial situation
12:54 Attorney Zeidenberg requests non-custodial sentence and that Defendant be permitted to self-
      deport
12:55 Court states that accommodating Defendant’s desire to sell his home before leaving the country
      would require that this hearing be continued
12:56 Attorney Zeidenberg requests that hearing be continued for 4 months
12:57 Hearing is continued to June 12, 2025 at 8:30 a.m.
12:57 Attorney Zeidenberg states that parties will attempt to resolve the lien on Defendant’s home
12:58 Court states that it will order forfeiture in the amount of the difference between what Defendant
      received from the graduate students or their family members, and what he paid to UWM
12:59 Government submits that forfeiture amount should be $679,329.55
12:59 Attorney Zeidenberg submits that the forfeiture amount should be the difference between what
      the graduate students paid Defendant and what Defendant paid to UWM, and should exclude
      amounts from visiting scholars and Defendant’s cousin, in the amount of $487,951
1:02 Government comments on payment from Jinan Bus Company; Attorney Zell responds
1:03 Court directs parties to confer about the amount subject to forfeiture
1:05 Court will await further submissions from parties; parties may choose to make final sentencing
      arguments telephonically
1:06 Court stands in recess




                                              Page 5 of 5
